                                                                                            Rev 12/01/19

                              LOCAL BANKRUPTCY FORM 3015-1

                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


IN RE:
DAVID P. FOUST                                              CHAPTER:              13
a/k/a David Paul Foust
a/k/a David Foust                                           CASE NO.              5:24-bk

                                                                ☒ ORIGINAL PLAN
                                               Debtor(s)          AMENDED PLAN (indicate #)
                                                            0        Number of Motions to Avoid Liens
                                                            0        Number of Motions to Value Collateral


                                        CHAPTER 13 PLAN

                                              NOTICES
  Debtors must check one box on each line to state whether or not the plan includes each of the
  following items. If an item is checked as “Not Included” or if both boxes are checked or if
  neither box is checked, the provision will be ineffective if set out later in the plan.

   1 The plan contains nonstandard provisions, set out in § 9,          ☒ Included      ☐ Not
     which are not included in the standard plan as approved by                         Included
     the U.S. Bankruptcy Court for the Middle District of
     Pennsylvania.
   2 The plan contains a limit on the amount of a secured claim,        ☐ Included      ☒ Not
     set out in § 2.E, which may result in a partial payment or no                      Included
     payment at all to the secured creditor.
   3 The plan avoids a judicial lien or nonpossessory,                  ☐ Included      ☒ Not
     nonpurchase- money security interest, set out in § 2.G                             Included

                              YOUR RIGHTS WILL BE AFFECTED
  READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a
  timely written objection. This plan may be confirmed and become binding on you without further
  notice or hearing unless a written objection is filed before the deadline stated on the Notice issued
  in connection with the filing of the plan.




                                                    1
  Case 5:24-bk-01953-MJC          Doc 5 Filed 08/06/24 Entered 08/06/24 18:55:50                   Desc
                                  Main Document    Page 1 of 7
                                                                                       Rev 12/01/19

1. PLAN FUNDING AND LENGTH OF PLAN.

  A. Plan Payments From Future Income
     1. To date, the Debtor paid $ 0.00 (enter $0 if no payments have been made to the Trustee
        to date). Debtor shall pay to the Trustee for the remaining term of the plan the
        following payments. If applicable, in addition to monthly plan payments, Debtor shall
        make conduit payments through the Trustee as set forth below. The total base plan is
        $10,203.56 plus other payments and property stated in § 1B below:

   Start           End               Plan            Estimated        Total           Total
  mm/yyyy         mm/yyyy          Payment            Conduit        Monthly         Payment
                                                     Payment         Payment         Over Plan
                                                                                       Tier

   09/2024         01/2026           $94.67            $0.00          $94.67         $1,609.39

   02/2026         08/2029          $360.31            $0.00          $360.31        $6,845.89




                                                                         Total       $8,455.28
                                                                      Payments:

     2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the
        Trustee that a different payment is due, the Trustee shall notify the Debtor and any
        attorney for the Debtor, in writing, to adjust the conduit payments and the plan
        funding. Debtor must pay all post-petition mortgage payments that come due before
        the initiation of conduit mortgage payments.

     3. Debtor shall ensure that any wage attachments are adjusted when necessary to
        conform to the terms of the plan.

     4. Check One:
                Debtor is at or under median income.


  B. Additional Plan Funding From Liquidation of Assets/Other

     1. The Debtor estimates that the liquidation value of this estate is $ 2,856.80.
        (Liquidation value is calculated as the value of all non- exempt assets after the
        deduction of valid liens and encumbrances and before the deduction of
        Trustee fees and priority claims.)

         Check one of the following two lines:

                                                 2
Case 5:24-bk-01953-MJC         Doc 5 Filed 08/06/24 Entered 08/06/24 18:55:50               Desc
                               Main Document    Page 2 of 7
                                                                                        Rev 12/01/19


         ☒ No assets will be liquidated. If this is checked, skip § 1.B.2 and complete § 1.B.3 if
         applicable.

         ☐     Certain assets will be liquidated as follows:

     2. In addition to the above specified plan payments, Debtor shall dedicate to the plan
        proceeds in the estimated amount of $ from the sale of property known and
        designated as . All sales shall be completed by . If the property does not sell by the
        date specified, then the disposition of the property shall be as follows:

     3. Other payments from any source(s) (describe specifically) shall be paid to the
        Trustee as follows:


2. SECURED CLAIMS.

       A. Pre-Confirmation Distributions. Check One:

                     None.

  B. Mortgages (Including Claims Secured by Debtor’s Principal Residence)
     and Other Direct Payments by Debtor. Check One:

                   None.
                   If this is checked, the rest of § 2.B need not be completed or reproduced.

             ☒     Payments will be made by the Debtor directly to the creditor according to
                   the original contract terms, and without modification of those terms unless
                   otherwise agreed to by the contracting parties. All liens survive the plan if
                   not avoided or paid in full under the plan.

         Name of Creditor                     Description of Collateral               Last Four Digits
                                                                                        of Account
                                                                                         N umber
 M&T Bank                            Residence located at                           8854
 PO Box 844                          3 Puritan Lane
 Buffalo, NY 14240                   Wilkes-Barre, PA 18702
 Peoples Security Bank & Trust       2017 Ford Taurus                               9209
 82 Franklin Ave.
 Hallstead, PA 18822




                                                 3
Case 5:24-bk-01953-MJC         Doc 5 Filed 08/06/24 Entered 08/06/24 18:55:50                 Desc
                               Main Document    Page 3 of 7
                                                                                       Rev 12/01/19


  C. Arrears (Including, but not limited to, claims secured by Debtor’s
     principal residence). Check One:

               None.

  D. Other secured claims (conduit payments and claims for which a § 506
     valuation is not applicable, etc.) Check One:

                 None.

  E. Secured claims for which a § 506 valuation is applicable.        Check One:


                 None.

  F. Surrender of Collateral.     Check One:

                   None.


  G. Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax
     liens. Check One:

                 None.


3. PRIORITY CLAIMS.

      A. Administrative Claims

    1.    Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed
          by the United States Trustee.

    2.    Attorney’s fees. Complete only one of the following options:

          a. In addition to the retainer of $ 1500.00 already paid by the Debtor, the amount of
             $ 3000.00 in the plan. This represents the unpaid balance of the presumptively
             reasonable fee specified in L.B.R. 2016-2(c); or

          b. $ per hour, with the hourly rate to be adjusted in accordance with the terms of the
             written fee agreement between the Debtor and the attorney. Payment of such
             lodestar compensation shall require a separate fee application with the
             compensation approved by the Court pursuant to L.B.R. 2016-2(b).



                                                4
Case 5:24-bk-01953-MJC         Doc 5 Filed 08/06/24 Entered 08/06/24 18:55:50               Desc
                               Main Document    Page 4 of 7
                                                                                        Rev 12/01/19

       3.     Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above. Check
              one:

                      None.

  B. Priority Claims (including certain Domestic Support Obligations).

       Allowed unsecured claims entitled to priority under § 1322(a) will be paid in full
       unless modified under §9.


                    Name of Creditor                               Estimated Total Payment




  C. Domestic Support Obligations assigned to or owed to a governmental unit
     under 11 U.S.C. §507(a)(1)(B). Check one:

                   None.

4. UNSECURED CLAIMS.

  A.        Claims of Unsecured Nonpriority Creditors Specially Classified. Check one:

                   None.

  B.        Remaining allowed unsecured claims will receive a pro-rata distribution of funds
            remaining after payment of other classes.

5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one:

                  None.

6. VESTING OF PROPERTY OF THE ESTATE.

  Property of the estate will vest in the Debtor upon

  Check the applicable line:


                                                  5
Case 5:24-bk-01953-MJC            Doc 5 Filed 08/06/24 Entered 08/06/24 18:55:50             Desc
                                  Main Document    Page 5 of 7
                                                                                            Rev 12/01/19


       ☐ plan confirmation.
       ☐ entry of discharge.
       ☒ closing of case.

7. DISCHARGE: (Check one)

       ☒ The debtor will seek a discharge pursuant to § 1328(a).
       ☐ The debtor is not eligible for a discharge because the debtor has previously received a
         discharge described in § 1328(f).

8. ORDER OF DISTRIBUTION:

   If a pre-petition creditor files a secured, priority or specially classified claim after the bar date,
   the Trustee will treat the claim as allowed, subject to objection by the Debtor.


   Payments from the plan will be made by the Trustee in the following order:
   Level 1:
   Level 2:
   Level 3:
   Level 4:
   Level 5:
   Level 6:
   Level 7:
   Level 8:

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above
Levels are not filled-in, then the order of distribution of plan payments will be determined by the
Trustee using the following as a guide:

Level 1: Adequate protection payments.
Level 2: Debtor’s attorney’s fees.
Level 3: Domestic Support Obligations.
Level 4: Priority claims, pro rata.
Level 5: Secured claims, pro rata.
Level 6: Specially classified unsecured claims.
Level 7: Timely filed general unsecured claims.
Level 8: Untimely filed general unsecured claims to which the Debtor has not objected.


9. NONSTANDARD PLAN PROVISIONS.

                                                   6
Case 5:24-bk-01953-MJC           Doc 5 Filed 08/06/24 Entered 08/06/24 18:55:50                   Desc
                                 Main Document    Page 6 of 7
                                                                                         Rev 12/01/19
Include the additional provisions below or on an attachment. Any nonstandard provision placed
elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as one document,
not as a plan and exhibit.)

   A. The 2017 Ford Taurus will be paid off in January 2026. Plan payment will go up by
      $265.64 in February 2026.
   B. The Debtor reserves the right to object to any claim at any time.


Dated: August 6, 2024                                   /s/C. Stephen Gurdin, Jr.
                                                        C.STEPHEN GURDIN, JR.
                                                        Attorney for Debtor


                                                         /s/David P. Foust
                                                        DAVID P. FOUST, Debtor


 By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor
 also certifies that this plan contains no nonstandard provisions other than those set out in § 9.




                                                  7
 Case 5:24-bk-01953-MJC          Doc 5 Filed 08/06/24 Entered 08/06/24 18:55:50                Desc
                                 Main Document    Page 7 of 7
